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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------------------------x
  DIEGO MEJIA,

                                     Plaintiff,

           v.                                                                 NOTICE OF APPEARANCE

  425 EAST 26TH STREET OWNERS CORP.,                                          Case No. 1:23-cv-07259 (MMH)
  JERSEY PROPERTIES LLC, UNITED
  MANAGEMENT CORP., ARTHUR WEINER,
  and MEIR BOUSKILA,

                                      Defendants.
  ------------------------------------------------------------------------x
  To the Clerk of this Court and all parties of record:

                   Please        enter      my        appearance         as       counsel   for    defendants

  425 East 26th Street Owners Corp., United Management Corp. and Arthur Weiner in this matter.

  Please send electronic notification of all papers filed with the Court to me at sppischl@cbdm.com.

  Dated:           New York, New York                       CLIFTON BUDD & DEMARIA, LLP
                   November 16, 2023                        Attorneys for the Defendants 425 East 26th
                                                            Street Owners Corp., United Management
                                                            Corp., and Arthur Weiner


                                                            By:
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  To:              Via ECF
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